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                                                            The Honorable MARSHA J. PECHMAN
 8
                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10
     A.B., by and through her next friend                 NO. 2:14-cv-1178 MJP
11   CASSIE CORDELL TRUEBLOOD, et al.,
                                                          JOINT STATUS REPORT RE:
12                              Plaintiffs,               FORTHCOMING EVIDENTIARY
                                                          HEARING
13          v.
14   WASHINGTON STATE DEPARTMENT
     OF SOCIAL AND HEALTH SERVICES,
15   et al.,
16                              Defendants.
17          The Parties offer their shared vision for the forthcoming evidentiary hearing on Plaintiffs’

18   motion alleging breach of a settlement agreement in this matter, to the extent it is helpful to the

19   Court. The Parties welcome feedback from the Court to the extent the Court has a different vision

20   for the forthcoming hearing, especially should any concerns relate to witness scheduling.

21                                            I.      DATES
22          The Parties are prepared to present additional information at the request of the Court

23   through the presentation of evidence and witnesses in-person at the United States District Court

24   for the Western District of Washington, in Seattle, on March 28–31, 2023. The Parties are

25   planning for the Court’s unavailability on the afternoon of March 29, 2023.

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      JOINT STATUS REPORT RE:                        1              ATTORNEY GENERAL OF WASHINGTON
                                                                           7141 Cleanwater Dr SW
      FORTHCOMING EVIDENTIARY                                                  PO Box 40124
      HEARING                                                             Olympia, WA 98504-0124
      NO. 2:14-cv-1178 MJP                                                     (360) 586-6565
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 1                                  II.     ROLE OF THE AMICUS
 2          The Parties propose that the amicus counties be allowed ten minutes to argue their brief,

 3   on the morning of Tuesday, March 28, 2023. The Parties propose that any responsive comments

 4   from the Plaintiffs or Defendants would be included in comments at the conclusion of the

 5   hearing.

 6                        III.    OPENING AND CLOSING STATEMENTS
 7          The Parties both agree to waive any opening statement as to their own cases and prior to

 8   their presenting of their evidence.

 9          The Parties believe they should be permitted argument on their motions, or a closing

10   statement, after the close of evidence and on the final day of the evidentiary hearing.

11                                         IV.     WITNESSES
12          The Parties estimate 3-4 hours for each witness. The Parties have convened to discuss

13   the witnesses to be called and the order in which they should be called. In the interest of judicial

14   economy, the Parties are agreed that it should not be necessary for witnesses to be called, and

15   then recalled, to allow for each side to examine and cross-examine. Instead, the Parties agree to

16   waive objection as to scope of cross-examination. The Parties agree that the State should take

17   witnesses first, and then the Plaintiffs should be permitted an expansive cross examination of

18   each witness, followed by re-direct and re-cross, if necessary. The Parties also agree that

19   witnesses need not be excluded from the courtroom during testimony from other witnesses

20   during this evidentiary hearing.

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 1          The witnesses the Parties believe to be necessary, in the order proposed by the Parties,
 2   are:
 3          1.       Dr. Danna Mauch, Court-Appointed Monitor
 4          Dr. Mauch is to be called regarding her observations of the State’s efforts towards
 5   compliance, joint efforts by herself and the parties to engage county judges and prosecutors
 6   regarding diversion options, and the like.
 7          2.       Dr. Keri Waterland, Division Director, Division of Behavioral Health and
                     Recovery at the Health Care Authority (HCA)
 8

 9          Dr. Waterland is the primary witness to be called related to the HCA’s efforts to help the
10   State with compliance under Trueblood, and the State’s efforts to transform the State’s
11   behavioral health system including the creation of additional treatment options in the
12   community.
13          3.       Kevin Bovenkamp, DSHS Assistant Secretary for the Behavioral Health
                     Administration
14

15          Mr. Bovenkamp is the primary witness to be examined regarding the Department’s larger
16   vision for treatment bed space, progress toward construction and renovation of new bed space,
17   staffing, workforce development, and the like. Mr. Bovenkamp also participates in admission
18   and bed allocation decisions, but from a high-level perspective.
19          4.       Dr. George Petzinger, Medical Director of the Gage Center for Forensic
                     Excellence at Western State Hospital
20

21          Dr. Petzinger is the primary witness to be examined regarding admission and treatment
22   at the Western State Hospital, the criteria and process for “triage” decisions regarding admissions
23   to the hospital, and the flow of patients through the Gage Center for Forensic Services to the
24   Civil Center.
25   \\
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 1          5.      Dr. Thomas Kinlen, Director of the Office of Forensic Mental Health
                    Services
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 3          Dr. Kinlen is the primary witness to be examined regarding the Department’s

 4   competency restoration treatment admission algorithm, competency evaluation process and

 5   outcomes, evaluator staffing, and efforts to communicate to criminal courts when an individual

 6   has previously been found not competent to stand trial. Dr. Kinlen can also speak to contempt

 7   orders from state courts, but the statistical information requested by the Court will be generated

 8   by the Attorney General’s Office and the Parties expect to stipulate to that information.

 9                                V.       EVIDENTIARY BINDERS
10          The Parties are preparing their evidence for the Court, in accords with their best

11   understanding of this Court’s chambers procedures. The Parties expect to be able to stipulate to

12   the authenticity of the vast majority of documents contained therein. To the extent any disputes

13   exist as to authenticity, disputed documents will be clearly marked as such.

14                                   VI.     STIPULATED FACTS
15          Again in the interest of judicial economy, the Parties are also jointly preparing a list of

16   stipulated facts for the Court. The Parties believe that by stipulating to undisputed facts, the

17   necessary scope of witness testimony can be reduced during the course of the hearing.

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 1                           VII.    QUARTERLY STATUS REPORT
 2          The Parties believe this hearing to be separate and apart from the regularly scheduled

 3   Quarterly Status Hearings, and expect the Court to resume scheduling Quarterly Status Hearings

 4   at some point after this evidentiary hearing. The Parties are therefore not preparing their

 5   Joint Status Report, choosing instead to rely on witness testimony and evidence to update the

 6   Court on implementation progress.

 7
            RESPECTFULLY SUBMITTED this 20th day of March 2023.
 8

 9
      s/ Marko L. Pavela                              s/ Kimberly Mosolf
10    Nicholas A. Williamson, WSBA No. 44470          David R. Carlson, WSBA No. 35767
      Anthony W. Vaupel, WSBA No. 47848               Kimberly Mosolf, WSBA No. 49548
11    Marko L. Pavela, WSBA No. 49160                 Disability Rights Washington
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12    7141 Cleanwater Drive SW                        Seattle, WA 98104
      P.O. Box 40124                                  (206) 324-1521
13
      Olympia, WA 98504-0124                          davidc@dr-wa.org
14    (360) 586-6565                                  kimberlym@dr-wa.org
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      Marko.Pavela@atg.wa.gov
16
      Attorneys for Defendants
17

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      JOINT STATUS REPORT RE:                     5               ATTORNEY GENERAL OF WASHINGTON
                                                                         7141 Cleanwater Dr SW
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 1                                    CERTIFICATE OF SERVICE
 2          I, Jade Wall, state and declare as follows:

 3          I am a citizen of the United States of America and over the age of 18 years and I am

 4   competent to testify to the matters set forth herein. I hereby certify that on this 20th day of March

 5   2023, I electronically filed the foregoing document with the Clerk of the Court using the

 6   CM/ECF system, which will send notification of such filing to the following:

 7          David Carlson: davidc@dr-wa.org

 8          Kimberly Mosolf: kimberlym@dr-wa.org

 9          Elizabeth Leonard: bethl@dr-wa.org

10          Christopher Carney: Christopher.Carney@CGILaw.com

11          Sean Gillespie: Sean.Gillespie@CGILaw.com

12          David JW Hackett: david.hackett@kingcounty.gov

13          I certify under penalty of perjury under the laws of the state of Washington that the

14   foregoing is true and correct.

15          Dated this 20th day of March 2023, at Olympia, Washington.

16

17
                                            JADE WALL
18                                          Legal Assistant
19

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      JOINT STATUS REPORT RE:                         6               ATTORNEY GENERAL OF WASHINGTON
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